     UNITED STATES BANKRUPTCY COURT                                   NOTICE OF CHANGE OF ADDRESS
     Eastern District of Michigan (Detroit)
     Name of Debtor:                       Case Number:
     Danita Ana Miller                     11-40797




     Name of Creditor:
     Nationstar Mortgage LLC
     Name of Current Servicer of account:
     Nationstar Mortgage, LLC                                                          COURT USE ONLY
     Name and Address where notices should be sent:                X Check this box if you are changing the address
     Nationstar Mortgage, LLC                                      that notices will go to.
     PO Box 619096
     Dallas, TX 75261-9741


     Telephone Number: 877-343-5602
     Name and Address where payments should be sent (if            X Check this box if you are changing the address
     different from above):
                                                                   that payments will go to.
     Nationstar Mortgage, LLC
     PO Box 619094
     Dallas, TX 75261-9741


                                                                     Check this box if the account number has
                    1. Account Number: 6455
                                                                   changed.



        2. Signature
            Check the appropriate box.
            I am the creditor.
            I am the creditor's authorized agent (Attached copy of power of attorney, if any.)
            I am the trustee, or the debtor.
            I am a guarantor, surety, indorser, or other codebtor.

                /s/ Michael Daniels                                      Date: 03/30/2015
                Michael Daniels - Assistant Secretary




       11-40797-mbm Doc 41 Filed 03/30/15
1229914-df054d8e-0f74-4903-8d75-1d4f411db6b9-                   Entered 03/30/15 04:47:46          Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                                                      Eastern District of Michigan (Detroit)

                                                                           Chapter 13 No. 11-40797
 In re:                                                                    Judge: Judge Marci B McIvor

 Danita Ana Miller

                                                  Debtor(s).


                                                    CERTIFICATE OF SERVICE
 I hereby certify that on March 30, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid, or
 via filing with the US Bankruptcy Court's CM ECF system.

 Debtor:                    Danita Ana Miller
                            11336 Stockwell
                            Detroit, MI 48224



 Debtor's Attorney:         Eleanor Cattron Smith
                            615 Griswold
                            Suite 925
                            Detroit, MI 48226


 Trustee:                   David Wm Ruskin
                            26555 Evergreen Rd Ste 1100
                            Southfield, MI 48076-4251




                                                                           /s/ Bill Taylor - Member of 4 S Technologies, LLC,
                                                                           Authorized Agent for Nationstar Mortgage LLC,
                                                                           through Walz Group as mailing agent




                 11-40797-mbm             Doc 41       Filed 03/30/15         Entered 03/30/15 04:47:46               Page 2 of 2
1229914-9c22a8e9-2521-4add-8e64-61d24efae0ef-
